      Case 1-18-43429-ess        Doc 50      Filed 10/28/19   Entered 10/28/19 12:45:26



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____________________________________X
                                                   Case No.: 18-43429
 LORETTA POLISENO-FISCHER                          Judge: Hon. Elizabeth S. Stong

                                                   DEBTOR’S MOTION FOR
                                                   VOLUNTARY DISMISSAL OF
                                                   CHAPTER 13 CASE
               Debtor.
____________________________________X


    DEBTOR’S MOTION FOR VOLUNTARY DISMISSAL OF CHAPTER 13 CASE


       COMES NOW, Debtor Loretta Poliseno-Fischer, by and through undersigned counsel and

hereby files this Motion.

   1. On August 15, 2018, Debtor filed for relief under Chapter 13 in the Eastern District of

New York.

   2. The case has not been converted. No party has filed a motion for relief from, annulment

of, or conditioning of the automatic stay.

   3. Debtor had filed the case with the intent of working with the mortgage lender to modify

her residential mortgage.

   4. Although the parties participated in the process, the modification terms could not be

established.

   5. In the future, Debtor may be in a position to seek protection under the code to fully

satisfy the lender by curing the mortgage arrears in a subsequent Chapter 13 plan.

   6. Therefore, Debtor seeks to voluntarily dismiss the case.
      Case 1-18-43429-ess      Doc 50    Filed 10/28/19    Entered 10/28/19 12:45:26


        WHEREFORE, Debtor requests this Court grant the Motion for Voluntary Dismissal of

this case.

Date: Brooklyn, New York
      October 28, 2019
                                                          /s/ Naomi Zeltser
                                                          26 Court Street
                                                          Suite 1200
                                                          Brooklyn, NY 11242
                                                          718-831-2529
      Case 1-18-43429-ess        Doc 50     Filed 10/28/19      Entered 10/28/19 12:45:26


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____________________________________X
                                                    Case No.: 18-43429
 LORETTA POLISENO-FISCHER                           Judge: Hon. Elizabeth S. Stong


               Debtor.
____________________________________X



                                 CERTIFICATE OF SERVICE


        I, Naomi Zeltser, certify that on October 28, 2019, service of the Motion for Voluntary
Dismissal was made by service in the court’s ECF system or by depositing a true copy of same
by regular, first class, United States mail, postage pre-paid, in an official depository under the
exclusive care of the United States Postal Service within the State of New York to the parties
listed on the attached mailing matrix.


Date: Brooklyn, New York
      October 28, 2019
                                                             /s/ Naomi Zeltser
                                                             26 Court Street
                                                             Suite 1200
                                                             Brooklyn, NY 11242
                                                             718-831-2529
